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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                           CRIMINAL ACTION NO. 15-00184-01

  VERSUS                                             JUDGE S. MAURICE HICKS, JR.

  TYRONE LARRY SMITH                                 MAGISTRATE JUDGE HORNSBY

                                    MEMORANDUM ORDER

          Before the Court is a Motion for Leave to File an Amended Petition in Support of

  Title 28 U.S.C. Section 2255 (Record Document 387) filed pro se by the defendant,

  Tyrone Larry Smith (“Smith”). Smith “moves the Court to obtain an Order directing

  counsel to provide copies of trial transcripts and other documentation essential to artfully

  submitting points and authorities supporting the merits of his collateral attack petition.”

  Id. at 2.

          The Court first notes there is no pending Section 2255 motion in this case. Thus,

  Smith “is not entitled to discovery prior to filing a § 2255 motion.” United States v. Cole,

  No. 5:09-CR-004-10-C, 2012 W 13088780, at *3 n. 3 (N.D. Tex. Apr. 17, 2012), citing

  United States v. MacCollom, 426 U.S. 317, 325-26 (1976) (defendant has no

  constitutional right to free copy of trial transcript or other court records for use in collateral

  proceeding) and United States v. Carvajal, 989 F.2d 170 (5th Cir. 1993) (defendant was

  not entitled to receive documents because no § 2255 motion was pending when he filed

  motions seeking documents in district court). Moreover, the Fifth Circuit has made clear

  that there is no entitlement to a free transcript so that an indigent defendant may conduct

  a “fishing expedition” in search of support for a potential § 2255 motion. See United

  States v. Caravajal, 989 F.2d 170 (5th Cir. 1993).           There is also no need for free
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  transcripts to decide issues or claims that have not yet been asserted in a § 2255 motion,

  as in this case. See United States v. Peralta-Ramirez, 266 F. App'x 360, 361 (5th Cir.

  2008).

           Accordingly,

           IT IS ORDERED that Smith’s Motion for Leave to File an Amended Petition in

  Support of Title 28 U.S.C. Section 2255 (Record Document 387) be and is hereby

  DENIED.

           THUS DONE AND SIGNED, in Shreveport, Louisiana, this 7th day of October,

  2021.




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